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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                            Judge Charlotte N. Sweeney

Civil Action No. 1:23-cv-00473-CNS-MDB

ESTATE OF RICHARD WARD, by and through its personal representative Kristy Ward
Stamp and
KRISTY WARD STAMP,

      Plaintiffs,

v.

PUEBLO COUNTY, COLORADO;
DEPUTY CHARLES MCWHORTER, in his individual and official capacity;
DEPUTY CASSANDRA GONZALES, in her individual and official capacity;
DEPUTY JACOB MAHAN, in his individual and official capacity;
DEPUTY CHRISTINE SPENCER, in her individual and official capacity;
DEPUTY NICOLAS BERUMEN, in his individual and official capacity;
DEPUTY ROBERT QUINTANA, in his individual and official capacity; and
SERGEANT JOSH RAGAN, in his individual and official capacity,

      Defendants.


                                       ORDER



      Before the Court are Plaintiffs’ and Defendants’ summary judgment motions. ECF

No. 131; ECF No. 150. For the reasons set forth below, the Court GRANTS IN PART and

DENIES IN PART Plaintiffs’ motion. The Court GRANTS IN PART and DENIES IN PART

Defendants’ motion. In doing so, the Court presumes the parties’ familiarity with this

case’s procedural background, their summary judgment briefing and attendant

evidentiary submissions, and the legal standard governing the Court’s analysis of their

summary judgment motions. The Court addresses the parties’ motions in turn.

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                                      I.       ANALYSIS

       A. Plaintiff’s Partial Summary Judgment Motion

       Plaintiffs seek summary judgment on her fourth and fifth claims for relief for

unlawful arrest. See, e.g., ECF No. 131 at 3. Resisting, Defendants contend genuine

issues of material fact preclude summary judgment. See, e.g., ECF No. 136 at 12. The

Court agrees with Plaintiffs that summary judgment is proper.

              1. The “Good Faith” Defense

       As a preliminary matter, Defendants assert the “good faith” defense to Plaintiff’s

“legal positions,” ECF No. 136 at 12, fundamentally arguing that Defendants were “legally

entitled to rely on” the Critical Incident Team’s (CIT’s) “indication that it had obtained

information necessary to justify [Ms. Ward Stamp’s] detention and transport” to the Pueblo

County Sheriff’s Office, id. at 13. The Court agrees with Plaintiffs that Defendants are not

entitled to the “good faith” defense. See ECF No. 145 at 7.

       “[T]he ‘good faith’ defense shields objectively reasonable good faith reliance on

the statements of a fellow officer.” Felders ex rel. Smedley v. Malcom, 755 F.3d 870, 882

(10th Cir. 2014). Evidence does not show Defendants’ claimed reliance on CIT’s

“indication that it had obtained information necessary to justify [Ms. Ward Stamp’s]

detention and transport,” ECF No. 136 at 15, was objectively reasonable, Felders, 755

F.3d at 882. Indeed, Defendants admit the following facts from Plaintiffs’ summary

judgment brief:

          x   Defendant Captain Bryant “agreed that there was never probable
              cause” to arrest Ms. Ward Stamp,

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          x   Defendant Berumen “did not have probable cause at the time of
              the contact” with Ms. Ward Stamp, and

          x   Defendant Quintana “agreed that there was no probable cause to
              believe” that Ms. Ward Stamp “had committed or was committing
              any criminal offense.”

Compare ECF No. 131 at 11–12, with ECF No. 136 at 8–9.

       Assuming the CIT and Pueblo Police Department (PPD) communicated to

Defendants, there can hardly be any “good faith” reliance on any information coming from

the CIT and PPD when these Defendants undisputably concluded that there was no

probable cause to detain Ms. Ward Stamp. As Defendants’ admission of these material

facts show, no “reasonable police officer in [Defendants’] position [would] conclude

[officers] had probable cause” to think Ms. Ward Stamp had or was committing a crime.

Felders ex rel. Smedley v. Malcom, 755 F.3d 870, 883 (10th Cir. 2014); Stearns v.

Clarkson, 615 F.3d 1278, 1285 (10th Cir. 2010)

       Accordingly, based on the summary judgment record and Defendants’ unqualified

admissions to Plaintiffs’ undisputed statement of facts, Defendants are not entitled to the

“good faith” defense as an excuse for their conduct. No reasonable jury could find

Defendants’ assumed reliance on information from the CIT and PPD was in “good faith”

when they undisputedly concluded there was no probable cause to arrest Ms. Ward

Stamp. See Lewis v. Tripp, 604 F.3d 1221, 1225 (10th Cir. 2010).

              2. Clearly Established Rights

       Plaintiffs argue that Defendants violated Ms. Ward Stamp’s clearly established

Fourth Amendment rights, see ECF No. 131 at 13, based Defendants’ detainment of Ms.


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Ward Stamp, which Plaintiffs contend constituted an unlawful arrest, id. at 15. Defendants

counter Ms. Ward Stamp’s detention was reasonable, ECF No. 136 at 15, and that its

length does not convert this reasonable detention into an unlawful arrest, id. at 17. The

Court agrees with Plaintiff: Undisputed facts show Defendants lacked probable cause to

detain Ms. Ward Stamp, and the length of her detention rose to the level of an unlawful

arrest.

          As a preliminary matter, and as indicated above, it is undisputed that Defendants

lacked probable cause to detain Ms. Ward Stamp. Given the absence of any material

factual dispute on this point, the Court turns to whether her detention—absent this

probable cause—rises to the level of an unlawful arrest in violation of her clearly

established constitutional rights.

          It does. Plaintiffs are correct to argue it is undisputed Defendant McWhorter’s

shooting resulted in the death of Ms. Ward Stamp’s son—Defendants admit this

statement of material fact, and describe the event as an officer involved shooting

throughout their response. Compare ECF No. 131 at 4, with ECF No. 136 at 3. And

following this, Defendants admit the following facts, rendering them undisputed:

          x   That 35 seconds after the shooting, Defendant McWhorter told Ms.
              Ward Stamp to “Stay in the car,”

          x   Defendant Mahan testified she was “not free to leave at this point,”

          x   Ms. Ward Stamp was “escorted” to a Pueblo County Sheriff’s Office
              (PCSO) SUV,

          x   Ms. Ward Stamp was placed in the SUV,

          x   Defendant Spencer gave Ms. Ward Stamp a “pat-down,”


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      x   Defendant Spencer testified Ms. Ward Stamp was not free to leave
          during Defendant Spencer’s contact with her,

      x   Ms. Ward Stamp was soon transferred to Defendant Mahan’s PCSO
          SUV,

      x   Ms. Ward Stamp was handcuffed during this time,

      x   Defendant Spencer kept Ms. Ward Stamp in Defendant Mahan’s
          PSCO SUV, where she remained handcuffed,

      x   Defendant Spencer told Defendant Mahan that Ms. Ward Stamp had
          no outstanding warrants,

      x   Defendant Mahan testified Ms. Ward Stamp was not “free to leave”
          when moved to his SUV,

      x   Defendant Berumen testified Ms. Ward Stamp was not “free to leave”
          at this point,

      x   After being moved to another SUV, Defendant Quintana gave Ms.
          Ward Stamp another pat-down,

      x   Defendant Quintana drove Ms. Ward Stamp to the PCSO Annex,

      x   Ms. Ward Stamp was still handcuffed when she entered the Annex,

      x   Defendant Quintana eventually removed her handcuffs,

      x   Defendant Berumen testified Ms. Ward Stamp was not free to leave
          the interview room, and

      x   Sherriff Lucero testified Ms. Ward Stamp was not free to leave when
          transported to the PSCO Annex or interview room.

See ECF No. 131 at 8–13.

      These are paradigmatic—and undisputed—facts showing Ms. Ward Stamp’s

Fourth Amendment rights were violated. At bottom, Defendants admit she had no

outstanding warrants, and there was no probable cause to detain her. Nonetheless,


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Defendants moved Ms. Ward Stamp, in handcuffs, throughout SUVs, and eventually into

the PSCO Annex, where even after her handcuffs were removed she was still unable to

leave the Annex or interview room.

       An arrest is a seizure under the Fourth Amendment, see, e.g., Torres v. Madrid,

592 U.S. 306, 312 (2021), and rises to the level of being unreasonable where an arresting

office lacks probable cause, see Cortez v. McCauley, 478 F.3d 1108, 1115 (10th Cir.

2007). See also id. (noting the “use of . . . handcuffs . . . generally exceed the scope of

an investigative detention and enter the realm of an arrest” (citation omitted)). Because

Ms. Ward Stamp was handcuffed, without probable cause, and taken from SUVs to a

room she could not leave for hours, Defendants’ arrest of her is an unreasonable seizure

under the Fourth Amendment. See, e.g., Torres, 592 U.S. at 312; Morris v. Noe, 672 F.3d

1185, 1192 (10th Cir. 2012) (“A person is seized by the police . . . when the officer, by

means of physical force or show of authority, terminates or restrains his freedom of

movement through means intentionally applied.” (quotations omitted)).

       Defendants’ efforts to justify their detention of Ms. Ward Stamp based on her son’s

conduct are unavailing, especially considering the facts they admit and thus render

undisputable. See ECF No. 136 at 17. So too is the argument that the duration of her

detention is somehow lawful because the CIT had to investigate the crime scene. Id. at

18. The fact remains that Ms. Ward Stamp was handcuffed without probable cause and

trotted between cars before going to the PCSO Annex, amounting to an unlawful seizure.

       Next, the Court considers, at Plaintiffs’ urging, whether Ms. Ward Stamp had a

clearly established right to be free from an unlawful arrest. See, e.g., ECF No. 131 at 13.


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She did. It is well settled individuals have a right to be free from unlawful, warrantless

arrests, especially where as here, an individual is detained, without probable cause, for

hours without the freedom to leave, and does not resist her detention. See, e.g., Shroff v.

Spellman, 604 F.3d 1179, 1188 (10th Cir. 2010) (“It has long been established that an

arrest and search without probable cause that a crime has been committed violates the

Fourth Amendment.” (citation omitted)); Hayes v. Fla., 470 U.S. 811, 816 (1985); Keylon

v. City of Albuquerque, 535 F.3d 1210, 1217 (10th Cir. 2008). Accordingly, a reasonable

jury could reach only the conclusion that Ms. Ward Stamp’s arrest was unlawful. Or put

differently, no reasonable jury could conclude probable cause existed to arrest Ms. Ward

Stamp, given it is undisputed Defendants stated they lacked such probable cause and

arrested Ms. Ward Stamp anyway.

             3. Municipal Liability

      Ms. Ward Stamp moves for summary judgment as to Pueblo County’s municipal

liability for her underlying constitutional violation. See ECF No. 131 at 16. Defendants

argue municipal liability cannot attach in this case, largely on the grounds Defendants

“did not violate her constitutional or statutory rights.” ECF No. 136 at 20. Although the

Court disagrees with Defendants that Ms. Ward Stamp’s rights were not violated, the

Court concludes Ms. Ward Stamp has not shown entitlement to municipal liability at the

summary judgment stage.

      The Court focuses its inquiry on the “causation” element for municipal liability. See,

e.g., Schwartz for Est. of Finn v. City & Cnty. of Denver, No. 1:21-cv-02160-CNS-SKC,

2023 WL 1879305, at *2–3 (D. Colo. Feb. 10, 2023) (setting forth elements a plaintiff must


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satisfy to establish municipal liability). The “causation” element requires that a plaintiff

establish a “direct causal link between the policy or custom and the injury alleged.” Id.

(quotations omitted); see also id. (“[A] policy or custom must have actually caused the

[constitutional] violation.” (quotations omitted)).

       In this case, a reasonable jury could conclude that Pueblo County policies or

customs did not cause Ms. Ward Stamp’s constitutional violations. For example, although

Defendants do not dispute that “everything that happened” happened pursuant to Pueblo

County policy and training, see ECF No. 136 at 9, this is insufficient to show that any

policy and training was the “moving force” behind Ms. Ward Stamp’s constitutional

violation, even if there is no factual dispute as to whether individual defendants violated

Ms. Ward Stamp’s constitutional rights. See Bd. of Cnty. Comm’rs of Bryan Cnty., Okl. v.

Brown, 520 U.S. 397, 404 (1997); Cacioppo v. Town of Vail, Colo., 528 F. App’x 929, 931

(10th Cir. 2013) (“A municipality may not be held liable under [42 U.S.C.] § 1983 solely

because its employees inflicted injury on the plaintiff.” (quotations omitted)); Schneider v.

City of Grand Junction Police Dep’t, 717 F.3d 760, 770 (10th Cir. 2013). Moreover, as the

parties’ briefs and attendant evidentiary citations indicate, there is at least a factual

dispute as to who “made the decision” to detain Ms. Ward Stamp, be it the CIT, Defendant

Mahan, or Defendant Bryant. Compare ECF No. 136 at 11, with ECF No. 145 at 3.

Therefore, given these disputed facts and the fact that a reasonable jury could conclude

Pueblo County policies or customs did not cause Ms. Ward Stamp’s constitutional

violation, summary judgment on this issue in Plaintiffs’ favor is improper.

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        For the reasons set forth above, Plaintiffs are entitled to summary judgment in their

favor on their fourth claim under § 1983 and fifth claim under analogous state law. See

also People v. Rister, 803 P.2d 483, 489 (Colo. 1990) (explaining provisions of Colorado

Constitution are “almost identical” to the Fourth Amendment, and that its “search and

seizure provision provides greater protection” than the Fourth Amendment (citation

omitted)). Plaintiffs’ motion is denied to the extent they seek summary judgment in their

favor on their assertion of municipal liability against Pueblo County.

        B. Defendant’s Summary Judgment Motion

        Defendants move for summary judgment on several of Plaintiffs’ claims. See, e.g.,

ECF No. 150 at 11. The Court considers Defendants’ summary judgment arguments in

turn. To the extent these arguments are advanced against Plaintiff’s fourth and fifth claims

for relief, the Court rejects them because, as discussed in its analysis of Plaintiffs’

summary judgment motion, Plaintiffs are entitled to summary judgment on those claims

in its favor.

                1. Excessive Force Claims

        Defendants target Plaintiffs’ first, second, and third claims for relief, which

fundamentally concern the alleged use of excessive force against Richard Ward. See

generally ECF No. 112 at 24–32. According to Defendants, “Each of the three Graham

factors, and consideration of the totality of the circumstances, support the objective

reasonableness of Defendants McWhorter’s and Gonzales’ seizure of [Mr.] Ward and,

ultimately, Defendant McWhorter’s use of deadly force.” ECF No. 150 at 17. Plaintiffs

contend a reasonable jury could find Defendants McWhorter and Gonzales used deadly


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force against Mr. Ward, in violation of his constitutional right to be free from excessive

force. See ECF No. 156 at 14. The Court agrees with Plaintiffs.

       The Court presumes familiarity with the relevant factors in its analysis of

Defendants’ summary judgment arguments. See Graham v. Connor, 490 U.S. 386, 395

(1989); Estate of Larsen v. Murr, 511 F.3d 1255, 1260 (10th Cir. 2008). Their application

leads to the conclusion a reasonable juror could find that Defendants committed a

constitutional violation against Mr. Ward, and thus summary judgment in favor of

Defendants on these claims is improper. See, e.g., Rife v. Oklahoma Dep’t of Pub. Safety,

854 F.3d 637, 643 (10th Cir. 2017).

       First, Defendants argue the first Graham factor favors them because Mr. Ward was

“suspected” of several state law crimes. ECF No. 150 at 15. But the Court agrees with

Plaintiffs that a reasonable jury could conclude Mr. Ward’s conduct did not rise to the level

of severity to justify the use of deadly force against Mr. Ward. See ECF No. 156 at 15.

There is a sufficient factual dispute as to whether Mr. Ward was engaging in conduct that

rises to the level of illegality at the time of his lethal encounter with Defendant

McWhorter—much less a severe level of illegality that would swing this factor in

Defendants’ favor. See, e.g., ECF No. 156 at 3; Jordan v. Jenkins, 73 F.4th 1162, 1172–

73 (10th Cir. 2023). Particularly where, as Defendants acknowledge, Defendant

McWhorter used deadly force against Mr. Ward, and Defendants state that, at the time of

Mr. Ward’s encounter with Defendant McWhorter, Mr. Ward was in the back seat of the

parked vehicle. See ECF No. 150 at 17; ECF No. 150 at 3; Surat v. Klamser, 52 F.4th

1261, 1274 (10th Cir. 2022) (concluding, after taking facts in light most favorable to


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plaintiff, that first Graham factor did not favor defendants where a jury “could conclude

she committed both crimes in a particularly harmless manner” (quotations omitted)).

       Second, and relatedly, Defendants have failed to show the second Graham factor

favors them such that they are entitled to summary judgment on Plaintiffs’ claims. See

ECF No. 150 at 16. The gravamen of Defendants’ argument is that Mr. Ward “posed an

immediate, and credible, risk to the deputies at the moment force was used.” Id. The

Court agrees with Plaintiffs that a reasonable jury could conclude otherwise. There is a

sufficient dispute of genuine material fact as to whether, for instance, Mr. Ward reached

for Deputy McWhorter’s gun, see ECF No. 156 at 15, or Mr. Ward “tackled” Deputy

McWhorter in such a manner that justified the use of lethal force against him, ECF No.

150 at 16. Thus, a reasonable jury could conclude this factor—the “most important”

Graham factor—does not favor Defendants, underscoring the impropriety of granting

Defendants summary judgment, particularly where, at a bare minimum, there are material

factual disputes as to what Mr. Ward was or was not doing at the time he was shot.

Jordan, 73 F.4th at 1173 (quotation omitted); See also Est. of Harmon v. Salt Lake City,

No. 23-4125, --- F.4th ----, 2025 WL 1163268, at *5 (10th Cir. Apr. 22, 2025) (“[T]here’s a

fundamental distinction between mere possession of a weapon and hostile movements

with it.”); id. at *5 (“When viewing the evidence and reasonable inferences favorably to

the estate and children, a factfinder could legitimately disbelieve the officers’ testimony

about hearing threats of stabbing or cutting.” (citation omitted)); Jordan, 73 F.4th at 1173;

Surat, 52 F.4th at 1275.




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       Third, Defendants argue the third Graham factor favors them because Mr. Ward

swallowed an “unknown substance” and after being removed from the vehicle “actively

[and] violently resisted detention.” ECF No. 150 at 17. But the Court agrees with Plaintiffs,

construing the summary judgment record in the light most favorable to them, that this

factor does not favor the use of deadly force. See Surat, 52 F.4th at 1275 (stating the

“use of force [must] be proportionate” (citations omitted)). For example, a reasonable jury

could find Mr. Ward was simply putting an anti-anxiety medication in his mouth, and that

he told Defendant McWhorter it was “just a pill.” See, e.g., ECF No. 156 at 3. Further, and

crucially, a reasonable jury could find that Mr. Ward made no hostile movements that rise

to the level of “resisting” detention, or that he manifested any intention to flee, justifying

the use of deadly force against him. See ECF No. 156 at 16. See also Harmon, 2025 WL

1163268, at *5 (“[W]e must view the evidence and reasonable inferences favorably to the

estate . . . .”); Jordan, 73 F.4th at 1173; Surat, 52 F.4th at 1275.

       For the reasons set forth above, consideration of the three Graham factors and the

totality of the circumstances, and construing the factual record in Plaintiffs’ favor—as the

Court must—a reasonable jury, based on that record, could credit Plaintiffs’ “version” of

events, Harmon, 2025 WL 1163268, at *3, under which the use of deadly force was

unjustified and improper, Surat, 52 F.4th at 1275. See also Davis v. Clifford, 825 F.3d

1131, 1135–36 (10th Cir. 2016). In light of the material factual disputes that Plaintiff

creates, and because a reasonable factfinder could conclude the use of force against Mr.

Ward was excessive and objectively unreasonable, the Court declines to grant summary

judgment on Plaintiffs’ first, second, and third claims in favor of Defendants. At bottom,


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Defendants err in arguing “Plaintiffs cannot produce admissible evidence in opposition to

Defendants’ [version of] these facts.” ECF No. 150 at 17 (emphasis added). Cf. ECF No.

156 at 16.

              2. Unlawful Arrest and Seizure Claims

       Defendants move for summary judgment on Plaintiffs’ fourth, fifth, sixth, and

seventh claims for relief. See ECF No. 150 at 18. As the Court grants summary judgment

in Plaintiffs’ favor on the fourth and fifth unlawful arrest claims—recall Defendants

admitted there was no probable cause to detain Ms. Ward Stamp at the level of an arrest,

and the “good faith” exception is inapplicable—it only considers Defendants’ arguments

attendant to the sixth and seventh unlawful seizure claims. In doing so, the Court

presumes familiarity with the substantive legal framework governing unlawful seizure

claims. See, e.g., Winters v. Bd. of Cnty. Comm’rs, 4 F.3d 848, 853 (10th Cir. 1993).

       As to whether Defendants unlawfully seized Ms. Ward Stamp’s property, a

reasonable jury could conclude Defendants did. Interpreting the summary judgment

record in the light most favorable to Plaintiffs, Plaintiffs have put forth sufficient evidence

showing Defendants lacked probable cause to detain Ms. Ward Stamp. It follows from

this evidence not only that Ms. Ward Stamp’s detention violated her clearly established

constitutional rights, but also that a reasonable jury could find the attendant taking of her

property was an improper seizure in violation of the federal and state constitutions. See

ECF No. 112 at 37–40; Soldal v. Cook Cnty., Ill., 506 U.S. 56, 66 (1992) (“[T]he seizure

of the items . . . can be justified only if they meet the probable-cause standard.” (citations

omitted)). Particularly where it is undisputed that Defendants seized Ms. Ward Stamp’s


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cell phone and vehicle, see ECF No. 156 at 11, and the vehicle was taken to PPD. A

reasonable jury could find there was no probable cause for seizing Ms. Ward Stamp’s

property, and that Defendants did so unlawfully for a prolonged period.

              3. Defendant McWhorter and Plaintiffs’ Third Claim

       Defendants argue Defendant McWhorter is entitled to summary judgment on

Plaintiffs’ third claim for battery causing wrongful death because he “employed only

reasonable force” and no reasonable jury could find he “acted willfully and wantonly in

utilizing deadly force.” ECF No. 150 at 25. Plaintiff agrees that the willful or wantonness

of Defendant McWhorter’s conduct is tantamount to asking whether Defendant

McWhorter used excessive—i.e., unreasonable—force. See ECF No. 156 at 21 n.3.

Explained above, because a reasonably jury could find Defendant McWhorter used

objectively unreasonable force, particularly in light of the material factual disputes

Plaintiffs have identified, see, e.g., Harmon, 2025 WL 1163268, *5, it is improper to grant

summary judgment in Defendants’ favor on Plaintiffs’ third claim for battery causing death.

See ECF No. 112 at 31. And as for the claim against Defendant McWhorter in his official

capacity, it is improper to grant summary judgment against Plaintiffs on their third claim

as to Defendant McWhorter’s conduct in his official capacity, given (1) a reasonable jury

could find he engaged in objectively unreasonable force, and that as discussed above in

the Court’s analysis of any policies underlying Ms. Ward Stamp’s unlawful arrest (2) there

are, at a minimum, factual disputes as to any policies that may have been the moving

force behind the use of excessive force against Mr. Ward. Cf. Martinez v. Beggs, 563

F.3d 1082, 1091–92 (10th Cir. 2009) (“A county or sheriff in his official capacity cannot


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be held liable for constitutional violations when there was no underlying constitutional

violation by any of its officers.” (quotations omitted)); id. (“Likewise, [the defendant] cannot

be held liable in his individual capacity for implementing county policies or for the actions

of county officers under a theory of supervisory liability, when there was no violation of

[the decedent’s] constitutional rights.” (citations omitted) (emphasis added)).

              4. Claims against the Board

       Defendants seek summary judgment in their favor as to named defendant Pueblo

County Board of County Commissioners (the Board). See ECF No. 150 at 26. The Court

agrees with Defendants that summary judgment in favor of the Board is proper.

       There is some dispute as to whether officers sued in their official capacity is

separably suable from a board of county commissioners. See, e.g., Rogacki v. Bd. of

Cnty. Commissioners of Jefferson Cnty., Colorado, No. 1:21cv-02281-CNS-KLM, 2023

WL 34755, at *2 (D. Colo. Jan. 4, 2023). The Court need not resolve this as a matter of

law because Plaintiffs have not created any dispute of material fact as to the Board’s

involvement in the underlying constitutional injuries that a reasonably jury could find

occurred. Indeed, their opposition to Defendants’ summary judgment motion lacks

argument “explain[ing] clearly” any “[Board] policy and the policymaker(s) to whom the

[Board] policy is attributable,” much less how a reasonably jury could find that any injury

or constitutional violation is attributable to a Board policy or action. Chavez v. Bd. of Cnty.

Commissioners of Lake Cnty., Colorado, 426 F. Supp. 3d 802, 814 (D. Colo. 2019); see

also Greenlaw v. United States, 554 U.S. 237, 243 (2008) (“[Courts] rely on the parties to

frame the issues for decision . . . .” (quotations omitted)). Therefore, the Court agrees with


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Defendants that granting summary judgment as to the Board as a defendant is proper—

Plaintiffs have not met their burden of showing why or how a claim against the Board can

be sustained.

                5. Qualified Immunity

       Finally, Defendants assert qualified immunity as to Plaintiffs’ first, fourth, and sixth

claims for relief—Plaintiffs’ claims for excessive force, unlawful arrest, and unlawful

seizure, respectively. See ECF No. 150 at 26. Defendants’ briefing on this point is

borderline conclusory, limited to descriptively citing broad qualified immunity principles—

i.e., that Plaintiffs must satisfy two prongs—and then arguing generically that Plaintiffs

cannot show violations of constitutional rights or that those rights were clearly established.

See id. at 150 at 28. But even entertaining these cursory arguments, they fail, as Plaintiffs

correctly argue throughout their summary judgment briefing. See, e.g., ECF No. 156 at

14.

       Of course, in light of Defendants’ qualified immunity assertion, Plaintiffs must then

show as to their challenged claims that “a constitutional violation has taken place [and]

this violation had been clearly established.” Harmon, 2025 WL 1163268, at *2 (citation

omitted). Explained above in the Court’s analysis of both parties’ summary judgment

motions, because Plaintiffs have shown a reasonable jury could find both constitutional

violations and that these violations were clearly established, see id. at *8, Defendants are

not entitled to qualified immunity as to Plaintiffs’ first, fourth, and sixth claims.

       For instance, a reasonably jury could find Mr. Ward’s rights were violated, based

on—at a minimum—material factual disputes as to the use of objectively unreasonable


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